               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA



 KANAUTICA ZAYRE-BROWN,
                       Plaintiff,
                  v.                               No. 3:22-cv-00191-MOC-DCK
 THE NORTH CAROLINA
 DEPARTMENT OF ADULT
 CORRECTION, et al.,

                       Defendants.



BRIEF IN SUPPORT OF PLAINTIFF’S RENEWED MOTION FOR PARTIAL
                    SUMMARY JUDGMENT


      The Court recently issued an order on the parties’ cross-motions for summary

judgment. It held that Plaintiff had satisfied the objective prong of her Eighth

Amendment claim as a matter of law—“[t]hat Defendant’s denial caused Plaintiff to

suffer significant injury is beyond genuine dispute.” Zayre-Brown v. N.C. Dep’t of Pub.

Safety, No. 3:22-CV-191-MOC-DCK, 2024 WL 410243, at *4 (W.D.N.C. Feb. 2, 2024)

(Doc. 92). On the subjective prong, the Court held that “Defendants knew the risks of

denying Plaintiff’s request for gender-affirming [surgery].” Id. at *5.

      The Court ultimately denied the motions without prejudice, however, because

an evidentiary hearing was necessary to resolve two issues of fact: “Whether gender-

affirming surgery is medically necessary for Ms. Zayre-Brown according to the

WPATH Standards of Care,” and “[w]hether the ETMO policy, specifically the

DTARC and Dr. Campbell’s role therein, amounts to a de facto ban on gender-

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affirming surgery for [gender dysphoria] patients.” Id. at *7. The order explains that

“[a]fter the evidentiary hearing, the Court will permit both sides to renew their

summary judgment motions. The Court will then assess Plaintiff’s likelihood of

success on the merits and resolve her request for injunctive relief.” Id. at *8.

         That hearing occurred on February 20. (See Ex. 6, Hearing Transcript). The

evidence presented confirmed that under the WPATH Standards, gender-affirming

surgery is medically necessary to treat Plaintiff’s gender dysphoria. She meets the

WPATH eligibility criteria and has exhausted all other treatment options; surgery

will likely alleviate her severe distress; and that distress will persist while Plaintiff

has male genitalia. Defendants did not seriously dispute any of this. That is enough

for Plaintiff to prevail on her Eighth Amendment claim—prisoners seeking gender-

affirming care, or any other kind of medical treatment, need not prove a blanket ban

on that treatment. See Edmo v. Corizon, Inc., 935 F.3d 757, 797 (9th Cir. 2019); Clark

v. Quiros, No. 3:19-CV-00575-VLB, 2023 WL 6050160, at *18 (D. Conn. Sept. 15,

2023).

         But the evidence does indeed show a de facto ban. Defendants have never

approved gender-affirming surgery to treat gender dysphoria. Dr. Campbell, who is

DAC’s chief medical officer, believes that gender-affirming surgery is never medically

necessary for anyone. He committed that view to paper twice before this case began,

hoping that “no further consideration would be given to [gender-affirming surgery]

within our system.” (Ex. 5, Defs. Hearing Ex. 10 at 1). Defendants testified at the

hearing that they would authorize surgery if a patient’s symptoms became “extreme,”



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“severe,” and “debilitating.” But even if sincere, that position flouts the WPATH

Standards, and the Eighth Amendment does not allow Defendants to ignore a

prisoner’s treatable medical condition until it culminates in serious harm. Helling v.

McKinney, 509 U.S. 25, 33-34 (1993).

      Accordingly, Plaintiff now renews her motion for partial summary judgment

(Doc. 62) and incorporates by reference her briefing in support of that motion (Docs.

63, 68). She offers the additional following argument, and respectfully asks the Court

to (1) grant her summary judgment on her Eighth Amendment and ADA claims, (2)

issue a permanent injunction, and (3) grant her summary judgment as to Defendants’

liability for damages under her state constitutional claim.

                                       FACTS


      “In the Fourth Circuit, requests for gender-affirming care are analyzed

according to the WPATH standards.” Zayre-Brown, 2024 WL 410243, at *5 (citing

De’lonta v. Johnson, 708 F.3d 520, 526 (4th Cir. 2013)). At the evidentiary hearing,

the Court heard expert testimony from Dr. Randi Ettner; she is a co-author of the

two most recent editions of the WPATH Standards who has treated thousands of

patients with gender dysphoria and published extensively on the subject. (Tr. 102-

05; Ex. 1, Pl. Hearing Ex. 1). Dr. Ettner also personally examined Plaintiff and

reviewed her medical records. (Tr. 105:18-106:8).

      Dr. Ettner explained that under the WPATH Standards, a patient becomes

eligible for gender-affirming genital surgery by meeting certain criteria. (Id. 107:13-

108:5). Those are:


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            1. Persistent, well documented gender dysphoria;

            2. Capacity to make a fully informed decision and to
               consent for treatment;

            3. Age of majority in a given country;

            4. If significant medical or mental health concerns are
               present, they must be well controlled;

            5. 12 continuous months of hormone therapy as
               appropriate to the patient’s gender goals (unless the
               patient has a medical contraindication or is otherwise
               unable or unwilling to take hormones).

            6. 12 continuous months of living in a gender role that is
               congruent with their gender identity.


(Ex. 2, Pl. Hearing Ex. 2 at 106). Dr. Ettner testified that Plaintiff meets these

criteria. (Tr. 108:6-12). Defendants have never asserted otherwise.

      As to medical necessity, Dr. Ettner explained that the WPATH Standards

reference the definition used by the American Medical Association, which is “a broad

umbrella term encompassing all forms of treatment.” (Tr. 110:14-17). It reads:

            Health care services that a physician and/or health care
            professional, exercising prudent clinical judgment, would
            provide to a patient for the purpose of preventing,
            evaluating, diagnosing or treating an illness, injury,
            disease or its symptoms, and that are: (a) in accordance
            with generally accepted standards of medical practice; (b)
            clinically appropriate, in terms of type, frequency, extent,
            site and duration, and considered effective for the patient’s
            illness, injury, or disease; and (c) not primarily for the
            convenience of the patient, physician, or other health care
            provider, and not more costly than an alternative service
            or sequence of services at least as likely to produce
            equivalent therapeutic or diagnostic results as to the
            diagnosis or treatment of that patient’s illness, injury or
            disease.

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(Ex. 3, Pl. Hearing Ex. 3 at S16-17).

      Dr. Ettner testified that this definition is “consistent with how the term

‘medical necessity’ is generally understood in the field of medicine[.]” (Tr. 111:1-4).

And for gender-affirming surgery to be medically necessary to treat gender

dysphoria, a patient does not need to be suicidal, engage in self-harm, or otherwise

have “debilitating” or “severe” symptoms. (Id. 114:16-22).

      Turning to Plaintiff’s circumstances, Dr. Ettner agreed that providing

Plaintiff with gender-affirming genital surgery is medically necessary as defined by

the AMA and under the WPATH Standards. (Id. 111:14-112:12). Dr. Ettner further

explained why, at this point in Plaintiff’s treatment, there is no alternative

treatment available:

             Mrs. Zayre-Brown is a woman. She lived as a woman in the
             community for years before her incarceration. She is a wife.
             She is a mother. She lives among women now, and she has
             the same hormones as women who are of her same age, her
             peers, her female peers. [] And yet she has this male organ,
             this detested organ, which causes her intractable distress.
             And nothing other than removal of the phallus and the
             creation of typical, female-appearing genitals, which would
             be accomplished with vulvoplasty, would not only
             attenuate her gender dysphoria, but it would cure her
             gender dysphoria.

(Id. 112:12-22).

      As the Court previously found, other clinicians who examined Plaintiff also

consider gender-affirming surgery medically necessary for her: “Plaintiff was

evaluated by Dr. Bradley Figler, a surgeon selected by the DAC who has expertise in



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gender-affirming surgery. Dr. Figler concluded that Plaintiff met the requirements

for gender-affirming genital surgery. Based on Plaintiff’s persistent GD, Dr. Figler

further concluded that gender-affirming surgery was medically necessary for

Plaintiff.” Zayre-Brown, 2024 WL 410243, at *2. The same is true for Plaintiff’s

treating endocrinologist, Dr. Donald Caraccio, and mental health provider, Jennifer

Dula. Id. Even Defendants’ expert psychologist testified at deposition that gender-

affirming surgery is “necessary” to treat Plaintiff’s gender dysphoria, which will

persist so long as Plaintiff has a phallus. (Doc. 62-1, Boyd Dep. 166:21-25, 167:12-21).

      At the hearing, Defendants offered no expert testimony. They instead had Drs.

Campbell, Peiper, and Sheitman testify. All three confirmed that they lack experience

in evaluating and treating gender dysphoric patients. (Tr. 25:17-21, 64:6-9, 85:15-

86:6). The Court also observed that “nobody is an expert in this particular area” for

Defendants. (Id. 121:12-13). Defendants did not assert that denying Plaintiff gender-

affirming surgery was appropriate under the WPATH Standards.

      Dr. Campbell discussed the “Position Statement” he authored in March 2022.

There he wrote, “After extensive and objective review and analysis of hundreds of

studies and other publications, it has been determined that gender reassignment

surgery (GRS), as a treatment for gender dysphoria, is not medically necessary.” (Ex.

4, Defs. Hearing Ex. 11 at 2). The document offers no exceptions to this rule. Dr.

Campbell further wrote that “to support these procedures given all these concerns

would be in conflict with the most critical imperative in medicine, ‘Primum non

nocere’ (First, do no harm’).” (Id. at 11). He also attacks WPATH as “‘activist-led’



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rather than ‘evidence-led.’” (Id. at 10).

      Dr. Campbell circulated this document to the DTARC to provide “a common

operating picture or a common baseline understanding of the medical literature as it

exists today.” (Tr. 53:25-54:1-3). “If approved,” he wrote, “the position statement

would be forwarded to our FTARCs and no further consideration would be given to

GRS within our system.” (Id. 59:3-6 (quoting Defs. Hearing Ex. 10 at 1)). Other

DTARC members supported the Position Statement. (Id. 97:1-23). Defendants did not

formally adopt this document as policy, but they did not make that decision until after

denying Plaintiff’s request for surgery. (See id. 122:20-22).

      Dr. Campbell testified that he still thinks the concerns discussed in his

Position Statement “are valid.” (Id. 60:6-14). He also confirmed that he wrote the

medical analysis portion of the “Case Summary,” which explains the DTARC’s

rationale for denying Plaintiff surgery. (Id. 70:14-16). There Dr. Campbell repeats his

view that gender-affirming surgery is never medically necessary to treat gender

dysphoria; that providing such surgery risks violating the Hippocratic Oath; and that

the WPATH Standards are illegitimate. (Ex. 5, Defs. Hearing Ex. 6 at 2-5). His

medical analysis did not address Plaintiff’s circumstances at all. (Id.; Tr. 72:16-19).

      Dr. Campbell also claimed, however, that he did not intend for these

documents to serve as a blanket prohibition on gender-affirming surgery. (Id. 54:19-

22). Rather, he would approve surgery if a patient’s symptoms were “extreme” or

“debilitating.” (Id. 55:15-21; 56:11-13). He did not ground this view under the

WPATH Standards or any other clinical guideline.



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      As for Drs. Sheitman and Peiper, the Court has already found that they

“deferred to Dr. Campbell with respect to medical necessity.” Zayre-Brown, 2024 WL

410243, at *3. Dr. Peiper agreed that “[n]obody on the DTARC disagreed with Dr.

Campbell’s interpretation of the literature” on gender-affirming surgery. (Tr. at

40:23-25). Dr. Peiper’s hearing testimony further echoed Dr. Campbell’s: he would

vote to approve gender-affirming surgery if a patient’s symptoms were “severe” and

“debilitating.” (Id. 19:25-20:11; 25:2-7). Dr. Sheitman testified that he did not think

symptoms had to be “severe and debilitating,” but that a patient had to exhibit

“persistent dysphoria” for surgery to become medically necessary. (Id. 100:21-22).

                                 LEGAL STANDARD

      In its recent order, the Court noted that it would adopt the procedure used by

the district court in Edmo, holding an evidentiary hearing before “assess[ing]

Plaintiff's likelihood of success on the merits and resolv[ing] her request for injunctive

relief.” Zayre-Brown, 2024 WL 410243, at *8. A permanent injunction is appropriate

when a plaintiff achieves actual success on the merits; faces irreparable injury

without an injunction; damages alone are inadequate; and the balance of equities and

public interest favor injunctive relief. See eBay Inc. v. MercExchange, L.L.C., 547 U.S.

388, 391 (2006).

                                     ARGUMENT

      Under the Eighth Amendment, prison officials show deliberate indifference by

“intentionally denying or delaying access to medical care or intentionally interfering

with the treatment once prescribed.” Estelle v. Gamble, 429 U.S. 97, 104-05 (1976)



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(footnote omitted). “‘A delay in treatment may constitute deliberate indifference if the

delay exacerbated the injury or unnecessarily prolonged an inmate’s pain.’” Sharpe

v. S.C. Dep’t of Corr., 621 Fed. App’x 732, 734 (4th Cir. 2015) (quoting McGowan v.

Hulick, 612 F.3d 636, 640 (7th Cir. 2010)).

      At the evidentiary hearing, the Court stated that this case hinges on whether

Defendants have a “legitimate process” for approving gender-affirming surgery. (Tr.

at 2:12-4:13). A sham process imposing a de facto ban on medical care will indeed

violate the Eighth Amendment. Plaintiff must respectfully point out, however, that

prison officials also violate the Eighth Amendment by denying medically necessary

care even if not because of a blanket ban. See, e.g., Edmo, 935 F.3d at 794; Clark,

2023 WL 6050160, at *28. Courts must conduct an individualized medical necessity

analysis, which often involves assessing the soundness of medical judgments. See

De’lonta, 708 F.3d at 526 & n.4; Gordon v. Schilling, 937 F.3d 348, 361 (4th Cir. 2019).

The Court acknowledged this in its recent order. See Zayre-Brown, 2024 WL 410243,

at *7 n.14 (“[A] district court may discredit ‘the contrary opinions of the State’s

treating physician and medical experts’ who ‘lacked expertise and incredibly applied

. . . the WPATH Standards of Care.” (quoting Edmo, 935 F.3d at 787)).

      Under either approach, the record overwhelmingly favors Plaintiff. Every

clinician in the record who has expertise in treating gender dysphoria, and everyone

who personally evaluated Plaintiff, agrees that surgery is medically necessary for her.

(See Doc. 66 at 6-7). At the same time, Defendants’ method for evaluating patients




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like Plaintiff flouts the WPATH Standards and amounts to “a sham process where

the answer is always no.” Zayre-Brown, 2024 WL 410243, at *8.


   I.      Under the WPATH Standards of Care, gender-affirming surgery is
           medically necessary to treat Plaintiff’s gender dysphoria.

        The Court’s summary judgment order explained that an unresolved issue is

“[w]hether gender-affirming surgery is medically necessary for Ms. Zayre-Brown

according to the WPATH Standards of Care.” Id. at *7. The issue depends on “(1)

whether the DTARC applied the appropriate standard of care; and (2) whether the

DTARC’s      medical    necessity   analysis   afforded   Plaintiff   individualized

consideration.” Id. at *5. The answer to each question is no.

           A. Defendants failed to apply the appropriate standard of care.

        Under the Eighth Amendment, prison medical care must be “adequate to

address the prisoner’s serious medical need.” De’lonta, 708 F.3d at 526. While any

deviation from a standard of care might not violate the Eighth Amendment, these

standards are highly relevant to Eighth Amendment claims. See Zayre-Brown, 2024

WL 410243, at *5 (citing cases).

        As detailed above, Plaintiff meets the WPATH criteria for gender-affirming

surgery. Despite years of talk therapy, hormone therapy, living as a woman, and an

orchiectomy, she continues to experience the painful effects of gender dysphoria.

(See Doc. 63 at 14-17,19-22). Her treating providers unanimously agree that surgery

is medically necessary and appropriate for her. (See Doc. 68 at 6-9). Defendants

agree that Plaintiff had gender dysphoria when they denied her surgery, which

means she was experiencing clinically significant distress at the time. (See Tr.

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31:17-23). They have never disputed that Plaintiff meets the WPATH criteria for

surgery, nor have they identified other treatment that could cure or substantially

alleviate her condition.

      Instead, Drs. Campbell and Peiper testified that they would have approved

surgery if Plaintiff’s symptoms were “extreme,” “debilitating,” and “severe.” (Tr. at

55:15, 20, 24; 56:11-13; 60:21-25).1 Plaintiff’s gender dysphoria has been severe for

years. (Id. 115:9-116:9). But the WPATH Standards do not require a patient to

suffer so greatly before surgery becomes necessary. (Id. 114:16-115:8). Indeed,

mental instability may disqualify someone for surgery under the WPATH

Standards. (Tr. 100:23-101:1). And “it is inconsistent with the Eighth Amendment

for a prison official to withhold treatment from an inmate who suffers from a serious,

chronic disease until the inmate’s condition significantly deteriorates.” Gordon, 937

F.3d at 359.2

      For these reasons, the evidence conclusively demonstrates that gender-

affirming surgery is medically necessary under the WPATH Standards to treat

Plaintiff’s gender dysphoria. Defendants either imposed requirements that are




      1Dr. Sheitman testified that the standard is “persistent dysphoria,” which is

consistent with the WPATH Standards. (Tr. 100:21-22). As noted above, Defendants
have never disagreed that Plaintiff continues to have persistent gender dysphoria.

      2Defendant Gary Junker, who is one of the final decision-makers for gender-

affirming surgery requests, previously testified that Plaintiff being “stable from a
mental health standpoint was a factor in favor of her being a good candidate for
surgery.” (Doc. 62-10, Junker Dep. 113:5-9).

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inconsistent with the WPATH Standards, consider the Standards illegitimate, or

both.

           B. Defendants did not afford Mrs. Zayre-Brown individualized
              consideration for gender-affirming surgery.

        Plaintiff has proven that she has an objectively serious medical condition, and

that Defendants have long known of this condition yet refused to provide medically

necessary care. That is all Plaintiff must show to succeed on her Eighth Amendment

claim. De’lonta, 708 F.3d at 525.

        The record further shows, however, that Defendants have imposed a de facto

ban on gender-affirming surgery to treat gender dysphoria. They have never

authorized such treatment. Shortly before this litigation began, Dr. Campbell twice

wrote why he thinks gender-affirming surgery is never medically necessary for

anyone. Indeed, Dr. Campbell thought that providing that surgery would violate the

Hippocratic Oath. Other DTARC members supported the Position Statement, and

while Defendants eventually decided against formally adopting it, that did not

happen until after they denied Plaintiff’s surgery request. Today, Dr. Campbell still

believes that his views expressed in the Position Statement are “valid.” And the

medical analysis in the Case Summary—which explains the basis for denying

Plaintiff surgery—parrots the Position Statement nearly word for word while not

analyzing Plaintiff’s individual needs at all. (Supra at 6-8).

        Yet Dr. Campbell also testified that he did not mean what he wrote—he really

thinks gender-affirming surgery can be medically necessary for some patients. (Tr.

at 54:19-22). That testimony is not credible. Dr. Campbell is an intelligent person

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who put significant time into crafting the Position Statement and Case Summary.

(See id. 65:5-23). If he truly meant to provide exceptions to his rule, he would have

done so. But he did not. Dr. Campbell hoped that “no further consideration would

be given to [gender-affirming surgery] within our system.” (Id. 59:1-6 (quoting Defs.

Ex. 10 at 1)). As the Court observed, “[I]t’s obvious Dr. Campbell has a problem

with” gender-affirming surgery. (Id. 122:1).

      As for Drs. Peiper and Sheitman, the Court already found that they deferred

to Dr. Campbell on the medical-necessity determination. Zayre-Brown, 2024 WL

410243, at *3. And even if they were not influenced by the Position Statement itself,

they were undoubtedly influenced by Dr. Campbell’s views. Dr. Peiper agreed that

“[n]obody on the DTARC disagreed with Dr. Campbell’s interpretation of the

literature” on gender-affirming surgery. (Tr. 40:23-25).

      But assume that Dr. Campbell’s testimony is sincere and Drs. Peiper and

Sheitman reached the same conclusions about Plaintiff independently. The record

still shows that Plaintiff did not receive meaningful, individualized consideration.

The Case Summary gives the medical analysis from the full DTARC—not just Dr.

Campbell—for denying surgery, and that analysis provided zero individualized

consideration for Plaintiff. (Id. 70:14-16; 72:16-21). No defendant had any concern

that Plaintiff specifically would regret surgery or otherwise face risks that weighed

against surgery. (E.g., id. 72:4-15). Defendants did not even bother to contact

Plaintiff’s treating clinicians about why they considered surgery necessary. (Id.

70:4-7).



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         Accordingly, the evidence shows that Defendants did not provide Plaintiff

with meaningful, individualized consideration for surgery.

            C. Plaintiff should also prevail on her ADA claims.

         The Court addressed Plaintiff’s ADA intentional discrimination claim in its

recent order: “Whether Plaintiff is being ‘denied’ care or requesting treatment for

which she is ‘unqualified’ boils down to the predicate question of medical necessity.”

Zayre-Brown, 2024 WL 410243, at *5. Likewise, Plaintiff’s failure-to-accommodate

claim hinges on “the medical necessity of gender-affirming surgery.” Id. As

discussed above, Plaintiff has proven the medical necessity of gender-affirming

surgery. Therefore, she should prevail on her ADA claims as well as her Eighth

Amendment claim.

   II.      A permanent injunction is warranted.

         To obtain a permanent injunction, Plaintiff must achieve “actual success” on

the merits of a claim. Amoco Prod. Co. v. Vill. of Gambell, 480 U.S. 531, 546 n.12

(1987). She must also demonstrate “irreparable injury”; “that remedies available at

law, such as monetary damages, are inadequate to compensate for that injury”; the

“balance of hardships” favor equitable relief; and “the public interest would not be

disserved by a permanent injunction.” eBay Inc. v. MercExchange, L.L.C., 547 U.S.

388, 391 (2006).

         Plaintiff satisfies all factors. If the Court grants her summary judgment on

her Eighth Amendment or ADA claims, she will have achieved actual success on the

merits. Proving a civil rights violation “constitutes irreparable harm for purposes of



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equitable jurisdiction.” Ross v. Meese, 818 F.2d 1132, 1135 (4th Cir. 1987). This

harm is ongoing, so money damages alone are inadequate. See Edmo, 935 F.3d at

797. Defendants will suffer no harm by complying with civil rights law and their

own policies. See Leaders of a Beautiful Struggle v. Baltimore Police Dep’t, 2 F.4th

330, 346 (4th Cir. 2021) (en banc). And “upholding constitutional rights is in the

public interest.” Legend Night Club v. Miller, 637 F.3d 291, 303 (4th Cir. 2011).

      Accordingly, a permanent injunction is necessary. The Court should order

Defendants to immediately arrange for Plaintiff to be provided gender-affirming

genital surgery as prescribed by her treating physicians.

   III.   Defendants are liable to Plaintiff under the North Carolina
          Constitution for denying her medically necessary care.

      The Court held that Plaintiff may bring her claim for damages under Article

I, Section 27 of the North Carolina Constitution. Zayre-Brown, 2024 WL 410243, at

*6. “Section 27’s protection is at least as broad as the Eighth Amendment’s.” Id.

Therefore, Plaintiff will prevail on her Section 27 claim if she establishes a serious

medical need, and that Defendants “knew of her need and related risks, but

nevertheless disregarded them.” Id.

      The Court has already held that Plaintiff satisfies the Eighth Amendment’s

objective component: “Even viewing the evidence in the light most favorable to

Defendant, Plaintiff clears this hurdle comfortably. That Defendant’s denial caused

Plaintiff to suffer significant injury is beyond genuine dispute.” Id. at *4. On the

subjective component, the Court held that “Defendants knew the risks of denying

Plaintiff’s request for gender-affirming care.” Id. at *5. And the testimony from the

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evidentiary hearing confirmed that gender-affirming surgery is medically necessary

to treat Plaintiff’s gender dysphoria.

      Accordingly, Plaintiff has satisfied all elements of her Section 27 claim as a

matter of law. The Court should grant summary judgment as to Defendants’

liability, with the amount of damages to be determined at trial.

                                  CONCLUSION

      The Court should grant summary judgment on Plaintiff’s claims for injunctive

relief and enter a permanent injunction requiring Defendants to immediately

arrange for Plaintiff to undergo gender-affirming genital surgery as prescribed by

her treating physicians at UNC. The Court should further grant summary judgment

as to Defendants’ liability on Plaintiff’s state constitutional claim for damages.



      Respectfully submitted, this 29th day of February, 2024.

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                          CERTIFICATE OF SERVICE

      I certify that on February 29, 2024, I electronically filed the foregoing

document using the ECF system which will send notification of such filing to all

counsel of record.

                                                    /s/ Daniel K. Siegel
                                                    Daniel K. Siegel

                                                    Counsel for Plaintiff




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